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15                           UNITED STATES DISTRICT COURT

16                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

17                                  SOUTHERN DIVISION

18   UNITED STATES OF AMERICA,                SA CR No. 19-061-JVS

19              Plaintiff,                    ORDER MODIFYING DEFENDANT MICHAEL
                                              JOHN AVENATTI’S CONDITIONS OF
20                    v.                      TEMPORARY RELEASE

21   MICHAEL JOHN AVENATTI,

22              Defendant.

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24         For the reasons set forth in the Court’s May 28, 2020, Minute

25   Order (CR 166) and during the June 1, 2020, status conference in this

26   matter, and to ensure that defendant MICHAEL JOHN AVENATTI

27   (“defendant”) is able to fully review the discovery in this matter

28   and participate in his defense, the Court HEREBY ORDERS that
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 1   defendant’s conditions of temporary release (CR 140; CR 154) shall be

 2   modified to include the following additional condition:

 3          1.   To ensure that defendant is able to review the discovery in

 4   this matter and the other pending prosecutions involving defendant in

 5   the Southern District of New York, defendant may use and possess a

 6   computer so long as the computer’s ability to access the internet has

 7   been disabled and remains disabled.         Prior to providing defendant

 8   with such a computer, defense counsel shall arrange for Net Disabler

 9   computer software or a comparable software program to be installed on

10   the computer and ensure that the internet access on the computer has

11   been disabled.     Defense counsel shall maintain the password for the

12   Net Disabler software and shall not share the password with defendant

13   or any other person.      Within 24 hours of defendant obtaining an

14   internet-disabled computer, defendant and/or his counsel shall

15   provide the United States Probation and Pretrial Services Office and

16   the United States Attorney’s Office for the Central District of

17   California with a description of the computer and confirm in writing

18   that the computer’s internet access has been disabled.

19          All other conditions of defendant’s temporary release (see CR

20   140; CR 154) shall remain in place.

21          IT IS SO ORDERED.

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23   June 08, 2020

24   DATE                                    HONORABLE JAMES V. SELNA
                                             UNITED STATES DISTRICT JUDGE
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 1   Presented by:

 2        /s/
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 3   BRETT A. SAGEL
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 6   H. DEAN STEWARD
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 7   MICHAEL JOHN AVENATTI
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